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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division


UNITED STATES OF AMERICA,

              V.

                                                           l:13-cr-350 (LMB)
WILLIAM SYKES, a.k.a. "Black"
                                                           l:16-cv-229(LMB)
               Movant.




                                  MEMORANDUM OPINION


       Before the Court is movant William Sykes'("movant" or "Sykes") Motion Under 28

U.S.C. § 2255 to Vacate, SetAside, or Correct Sentence by a Person in Federal Custody

("Motionto Vacate"),as well as a supplemental filing that appearsto request a sentence

reduction for a "minor role of culpability" ("Minor Role Motion"), and a letter motion requesting

thatsix subpoenas be issued for discovery purposes ("Letter Motion"). The Motion to Vacate

hasbeen fully briefed andthe Court finds thatneither oral argument noran evidentiary hearing

would aidthe decisional process. SeeRaines v. United States. 423 F.2d526,529 (1970)

(recognizing thata "fiill evidentiary hearing" is not required where "'the files andrecords of the

case conclusively show thattheprisoner is entitled to no relief.'" (quoting 28 U.S.C. § 2255(b)).

Thegovernment has not replied to the Minor Role Motion or the Letter Motion but the Court

finds thatno reply is necessary. Forthe reasons that follow, the Motion to Vacate willbe

dismissed, and the remaining motions denied.

                                     1.      BACKGROUND

       On August, 29,2013, a grand jury returned an mdictment against Sykes and 23 other

defendants, all of whom were alleged to be members of the Nine Trey Gang, a street gang
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